Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 1 of 27

(f° ir~ D) Y - MP AND RETURK
£4 } u me j or
PGGURY

IN THE UNITED STATES DISTRICT COURT A % 1g
FOR THE DISTRICT OF MARYLAND
SOUTHERN DIVISION jf eee /e

ELIZABETH GILLESPIE,
507 Montgomery St.
Laurel, MD 20707, and

DAVID IRVINE
507 Montgomery St.
Laurel, MD 20707, and

ERIN WHITNEY _ ee
6313 Mockingbird Street
Ventura, CA 93003, and

CARY BARBIN
327 Talbott Avenue
Laurel, MD 20707, and

KATHRYN ELIZABETH HALE
14012 Vista Drive, Unit 16A
Laurel, MD 20707, and

BRIAN LEFFLER
2606 23" Road North
Arlington, VA 22207, and

XIOMARA PORRAS
9035 - D North Laurel Rd.
Laurel, MD 20723,

V.

LAUREL REGIONAL HOSPITAL,
7300 Van Dusen Road
Laurel, MD 20707,

Civil Action No.

Plaintiffs,

Ne!” Nome” Same! Newer Neat Net” See Neamt Seat! Sett! Saggtt! Saget rca! mage! cage “amatt! euantt ~empgt!! aget! “angel! east! aapet! age! “maa! “eau! Snare “mage! Seago! “omget! “eget! aaa! “mat! “mage “eaapet! sagt! mage!

Defendant.

WO 349100.6

COMPLAINT FOR INJUNCTIVE RELIEF
AND FOR COMPENSATORY AND PUNITIVE DAMAGES

Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 2 of 27

NOW COME Plaintiffs Elizabeth Gillespie, David Irvine, Erin Whitney, Cary Barbin, Kathryn
Elizabeth Hale, Brian Leffler, and Xiomara Porras (collectively “Plaintiffs”), by and through their
undersigned counsel, and file this Complaint against Defendant Laurel Regional Hospital (“Laurel
Hospital,” or the “Hospital”) and, in support thereof, allege as follows:

STATEMENT OF THE CASE

1. Plaintiffs are deaf individuals that have sought and received medical treatment at Laurel
Hospital. Fach has depended on Laurel Hospital for a variety of inpatient, emergency andoutpatiest ~~
medical services, due largely to the Hospital’s proximity to their respective homes. Plaintiffs will likely
continue to depend upon Laurel Hospital for a variety of inpatient, emergency and outpatient medical
treatment in the future.

2. To communicate effectively in medical situations — especially emergency medical
situations — Plaintiffs require a live, qualified sign language interpreter. The alternative methods of
communication utilized by Laurel Hospital, which may be acceptable in non-medical settings, in
Plaintiffs’ cases have proven inadequate. Plaintiffs sought medical treatment at Laurel Hospital because
either they or a family member were sick, injured and/or experiencing severe pain, necessitating them
coming to the Hospital’s emergency room. Such medical settings, in which Plaintiffs’ health,
cognizance and concentration have already been compromised, require the provision of a live and in-
person, qualified sign language interpreter. Hearing patients would expect and receive nothing less than
live, person-to-person medical service with oral communications between themselves and Hospital staff.
Deaf patients, such as Plaintiffs, should receive nothing less than what would be provided for hearing

patients. In fact, given their disability, deaf patients should receive greater communication efforts from

Hospital staff, not less.

WO 349100.6 2
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 3 of 27

3. On each occasion when Plaintiffs visited Laurel Hospital for treatment, they and/or others
made repeated requests for the assistance of a live and in-person, qualified sign language interpreter to
enable the plaintiffs to communicate with doctors, nurses and other Hospital staff, to understand and
participate in their medical treatment and to receive the full benefit of the Hospital’s services. Despite
specific and repeated requests for live interpreter services, however, Laurel Hospital failed and refused
to provide Plaintiffs with live qualified sign language interpreters incident to the administration of
medical treatment. ae eee

4. Instead, Plaintiffs were forced to communicate through cryptic notes or lip-reading. Lip-
reading, the ability to understand the speech of another by watching the speaker’s lips, is an extremely
speculative means of communication. Only approximately 30-40% of the spoken sounds of our
language are visible, and many of those appear identical on the lips. Even the very best lip-readers, in
an ideal one-to-one situation, have been found to understand only 26% of what is said.

5. In limited circumstances, Plaintiffs were able to utilized Video Remote Interpreting
(“VRI”). VRI uses video conferencing technology to provide remote interpreting services. The sign
language interpreter is located at a remote location and, through video conferencing, the deaf individual
and the interpreter can view each other. Facing a small camera mounted on top of a computer, the deaf
individual signs to the interpreter, who then voices what has been signed and interprets what is said in
response by hearing participants which interpretation is displayed on a computer monitor for viewing by
the deaf participant. In the specific instances facing these Plaintiffs, VRI was an insufficient mode of
communication.

6. As a consequence, Plaintiffs have been denied the benefit of effective communication

with physicians and health care providers at Laurel Hospital, have been unable to provide informed

WO 349100.6 3
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 4 of 27

consent to treatment, have been denied the opportunity to participate in their treatment, and have been
denied the full benefit of the health care services provided by Defendant Laurel Hospital as required by
the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12181 et seq., and Section 504 of the
Rehabilitation Act (the “Rehabilitation Act’), 29 U.S.C. § 794.

JURISDICTION AND VENUE

7. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 because this case
involves Laurel Hospital’s multiple and repeated violations of both the ADA and the Rehabilitation Act.
This Court also has jurisdiction pursuant to 28 U.S.C. § 1343(a)(4) because this case involves a violation
of Plaintiffs’ civil rights.

8. Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because Defendant is located
in and has its principal (and exclusive) place of business in Prince George’s County, Maryland, and the
events giving rise to the Complaint occurred in Prince George’s County, Maryland.

THE PARTIES

9. Plaintiff ELIZABETH GILLESPIE is a resident of Laurel, Maryland. Ms. Gillespie is
deaf, and therefore qualifies as an individual with a disability as defined by both the ADA, 42 U.S.C. §
12102(2) and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Ms. Gillespie communicates through
ASL. Ms. Gillespie has sought and received, and will likely continue to seek, medical treatment from
Laurel Hospital, which is approximately two miles from her home.

10. Plaintiff DAVID IRVINE is a resident of Laurel, Maryland. Mr. Irvine is deaf, and
therefore qualifies as an individual with a disability as defined by both the ADA, 42 U.S.C. § 12102(2)
and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Mr. Irvine communicates through ASL. Mr. Irvine

has sought and will likely continue to seek medical treatment from Laurel Hospital, which is

WO 349100.6 4
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 5 of 27

approximately two miles from his home. Mr. Irvine has accompanied and will likely continue to
accompany his wife, Elizabeth Gillespie, to Laurel Hospital for purposes of assisting her with, and
participating in, her medical treatment decisions.

11. Plaintiff ERIN WHITNEY was a resident of College Park, Maryland at all times relevant
to the Complaint. Ms. Whitney is deaf, and therefore qualifies as an individual with a disability as
defined by both the ADA, 42 U.S.C. § 12102(2) and the Rehabilitation Act, 29 U.S.C. § 705(2)(B).

Ms. Whitney communicates through American Sign Language (“ASL”). Ms. Whitney has sought and
received medical treatment from Laurel Hospital, which at all times relevant to the Complaint was
approximately eight miles from her prior residence.

12. Plaintiff CARY BARBIN is a resident of Laurel, Maryland. Mr. Barbin is deaf, and
therefore qualifies as an individual with a disability as defined by both the ADA, 42 U.S.C. § 12102(2)
and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Mr. Barbin communicates through ASL. Mr. Barbin
has sought and received, and will likely continue to seek, medical treatment from Laurel Hospital, which
is approximately two miles from his home.

13. Plaintiff KATHRYN HALE is a resident of Laurel, Maryland. Ms. Hale is deaf, and
therefore qualifies as an individual with a disability as defined by both the ADA, 42 U.S.C. § 12102(2)
and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Ms. Hale communicates through ASL. Ms. Hale has
sought and received, and will likely continue to seek, medical treatment from Laurel Hospital, which is
approximately two miles from her home.

14. Plaintiff BRIAN LEFFLER was a resident of Laurel, Maryland at all times relevant to the
Complaint. Mr. Leffler is deaf, and therefore qualifies as an individual with a disability as defined by

both the ADA, 42 U.S.C. § 12102(2) and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Mr. Leffler

WO 349100.6 5
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 6 of 27

communicates through ASL. Mr. Leffler has sought and received, and will likely continue to seek,
medical treatment from Laurel Hospital, which is approximately two to three miles from his home.

15. Plaintiff XIOMARA PORRAS is a resident of Laurel, Maryland. Ms. Porras is deaf, and
therefore qualifies as an individual with a disability as defined by both the ADA, 42 U.S.C. § 12102(2)
and the Rehabilitation Act, 29 U.S.C. § 705(2)(B). Ms. Porras is unable to communicate effectively
through reading or writing, and communicates effectively only through ASL. Ms. Porras has sought and
received, and wilLlikely continue to seek, medical treatment for herself and for her family from Laurel
Hospital, which is approximately five miles from her home.

16. Laurel Hospital, upon information and belief, operates in Prince George’s County,
Maryland at 7300 Van Dusen Road, Laurel, MD 20707. Defendant is affiliated with Dimension
Healthcare Systems, a corporation located at 3001 Hospital Drive, Suite 4000, Cheverly, MD 20785.
Laurel Hospital is a Maryland business and is a place of public accommodation as defined by the ADA,
42 U.S.C. § 12181(7)(F). The Hospital receives federal financial assistance pursuant to the
Rehabilitation Act and is therefore a federal recipient subject to the requirements of Section 504 of the
Rehabilitation Act, 29 U.S.C. § 794.

FACTS ENTITLING PLAINTIFFS TO RELIEF

17. Paragraphs 1 through 15 are adopted and incorporated by reference as though expressly
set forth.

A. Laurel Hospital Failed to Provide Plaintiff Gillespie with an Appropriate Auxiliary Aid

As Necessary to Ensure Effective Communication, And Therefore Denied Her Full and
Equal Medical Treatment Because of Her Disability.

18. | Onor about November 1, 2003, Ms. Gillespie went to the Laurel Hospital emergency

room to obtain medical treatment for severe abdominal pain, nausea, and vomiting, among other

WO 349100.6 6
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 7 of 27

symptoms. On numerous prior visits, Laurel Hospital failed to provide Ms. Gillespie with a sign
language interpreter. Nevertheless, because Laurel Hospital is the closest hospital to her home and Ms.
Gillespie needed emergency medical care, she returned to Laurel Hospital.

19. Immediately after registering at the Hospital’s front desk on November 1, 2003, Ms.
Gillespie was admitted to the emergency room because of her serious condition. Ms. Gillespie’s
husband, David Irvine, who is also deaf and who cannot lip-read, accompanied her to the Hospital.
While Mr. Irvine is deaf and cannot read lips, he can speak clearly enough to be understnod. Bs
contrast, Ms. Gillespie has limited lip reading ability but her speech is not clear. Because of her serious
medical condition and severe pain, however, Ms. Gillespie’s ability to read lips was compromised
during this hospital visit.

20. | Upon Ms. Gillespie’s admittance, both she and her husband requested a live, in-person
sign language interpreter so that they could communicate with the doctors, nurses and other Hospital
staff. Laurel Hospital’s staff told them that it did not have any sign language interpreter. Ms. Gillespie
and Mr. Irvine repeatedly requested an interpreter. After waiting for some time, a member of the
Hospital staff finally mentioned that the Hospital has a VRI device. The staff informed Ms. Gillespie,
however, that the room containing the VRI device was not available at that time because the room was
being used by another patient. After waiting approximately two hours, Ms. Gillespie was finally moved
to the room containing the VRI device. Due to her inability to communicate with the Hospital staff
during the two-hour delay, however, Ms. Gillespie did not understand the medical advice or treatment
she received during that time.

21. After moving Ms. Gillespie to the room with the video interpreting device, it took the

improperly and inadequately trained Hospital staff another 20-30 minutes to set up and operate the

WO 349100.6 7
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 8 of 27

equipment. The doctor communicated with Ms. Gillespie using the video interpreting device. This
consultation lasted approximately 10 minutes. During this time, the doctor advised Ms. Gillespie that he
did not know the cause of her severe pain, but communicated to her that he would like to perform some
tests. The doctor informed Ms. Gillespie that she would undergo an x-ray and probably a CT-scan. The
Hospital staff never utilized the VRI device again during Ms. Gillespie’s visit.

22. Following the consultation, Ms. Gillespie and Mr. Irvine waited in her room before the
Hospital staff returned to prepare her for her x-rays. During this prncedurs,_as well as during all
subsequent procedures, tests, and doctor consultations, Ms. Gillespie did not receive, and the Hospital
either failed or refused to provide access to, the VRI device and denied her repeated requests for a live
sign language interpreter or any other alternative mode of communication. The Hospital staff wrote
notes to her only in a few select and extreme circumstances and only after Ms. Gillespie begged and
continuously motioned for some sort of communication. Even then, the Hospital staff limited written
communication to a few words. As a result, Ms. Gillespie and Mr. Irvine received only a partial and
limited understanding of her medical condition and treatment. Rather than provide effective
communication, the Hospital staff insisted on speaking to Ms. Gillespie and Mr. Irvine verbally despite
the fact that he cannot read lips and Ms. Gillespie’s ability to lip-read was compromised by her medical
condition.

23. After being x-rayed, Ms. Gillespie was returned to her patient room where she waited for
some time before the doctor returned to consult with her and her husband. The doctor verbally informed
them that Ms. Gillespie had an enlarged heart and that Ms. Gillespie would need to undergo a CT-scan.

As this diagnosis was communicated only verbally, Ms. Gillespie and Mr. Irvine were forced to attempt

WO 349100.6 8
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 9 of 27

to rely solely on the vagaries of lip-reading to comprehend this critical information. They did not fully
understand the doctor’s diagnosis or the medical treatment she was going to receive.

24. Ms. Gillespie and Mr. Irvine waited another few hours (almost five hours after she was
admitted to the emergency room) before a male Hospital attendant arrived to take her to the CT-scan
room. Neither Ms. Gillespie nor Mr. Irvine could understand the male attendant’s instructions to them.
As a result, Ms. Gillespie repeatedly asked (by signing to Mr. Irvine who relayed her request verbally)
that the attendant communicate with them in writing so that they could better understand the medical
services he was to provide. The attendant ignored and refused the request for written communication.
Instead, the male attendant’s communication was limited to his pulling and snapping her bra’s strap
when he wanted her to remove it. Ms. Gillespie was humiliated, embarrassed and violated by this
incident.

25. The male attendant nevertheless took Ms. Gillespie to the CT-scan room. Mr. Irvine
followed. While the attendant prepared for the CT-scan, Ms. Gillespie (through Mr. Irvine) repeatedly
requested that the male attendant communicate with her in writing about the procedure. Neither Ms.
Gillespie not Mr. Irvine understood the procedure. The attendant angrily and steadfastly refused to
communicate with her in writing. She felt afraid and, as a result, left the CT-scan room and returned to
her patient room requesting (through Mr. Irvine) that a nurse be present during the CT-scan.

26. After undergoing the CT-scan in the presence of a female nurse, Ms. Gillespie and Mr.
Irvine returned to her patient room and waited an additional hour (almost seven and one half hours after
she was first admitted to the emergency room) before a doctor returned to provide Ms. Gillespie with a
sedative for her pain. The doctor left without providing Ms. Gillespie with any diagnosis or update on

her condition or the results of any test.

WO 349100.6 9
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 10 of 27

27. Because she felt exasperated with her treatment and uninformed about her medical
condition arising from the Hospital’s refusal and failure to communicate with her or her husband
adequately, Ms. Gillespie wanted to leave the Hospital.

28. After waiting another few hours or so, a different doctor arrived at Ms. Gillespie’s room
to provide her and her husband with a summation consultation (almost ten hours after Ms. Gillespie was
admitted to the emergency room). The doctor informed them that Ms. Gillespie should be admitted to
the Hospital for additional tests ; tg determine the source of her pain. He communicated with them
verbally and then after Mr. Irvine assisted, he sparsely used written notes. The doctor’s notes were
short, confusing and cryptic. Because Ms. Gillespie had been sedated and Mr. Irvine does not read lips,
they could not understanding the verbal discussion. They were also confused about the written
communications since those communications were so vague. Ms. Gillespie informed the doctor through
Mr. Irvine that she wanted to leave the Hospital. In response, the doctor turned, and began to leave the
room. Mr. Irvine stopped him and asked about the earlier doctor’s reference to his wife’s heart being
enlarged. Ms. Gillespie and Mr. Irvine believe the doctor communicated to them that the doctor who
saw Ms. Gillespie earlier during her visit diagnosed her with congestive heart failure. The doctor
cavalierly recommended that Ms. Gillespie go to another emergency room at a different hospital for
treatment. Ms. Gillespie’s discharge papers and all other written materials she received from the
Hospital failed to mention the lung problem and/or the heart condition for which she was ultimately
diagnosed.

29. Ms. Gillespie’s medical treatment was deficient because Laurel Hospital denied her full
and equal medical treatment based on her disability. Moreover, Ms. Gillespie was excluded from

participation in, denied the benefits of, and subjected to discrimination in the receipt of medical services.

WO 349100.6 10
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 11 of 27

Consequently, she sustained physical and emotional injuries, and incurred damages in an amount to be

proven at trial.

B. Laurel Hospital Failed to Provide Plaintiff Irvine with an Appropriate Auxiliary Aid
As Necessary to Ensure Effective Communication, And Therefore Denied Him Full and
Equal Medical Treatment Because of His Disability.

30. Ms. Gillespie’s husband, David Irvine, also has suffered from Laurel Hospital’s

discriminatory failure to provide effective communication. Mr. Irvine accompanied his wife to Laurel

_ __.. Hospital during her November 1, 2003 visit. Ms. Gillespie relies heavily on Mr. Irvine’s participation in.

making her medical decisions. By refusing to provide a sign language interpreter or other effective
communication aid during the visit, Laurel Hospital denied Mr. Irvine full and equal medical treatment
because of his disability. Moreover, Mr. Irvine was excluded from participation in, denied the benefits
of, and subjected to discrimination in the receipt of medical services for his wife. This denial was
specifically based on Mr. Irvine’s disability, and has caused him emotional injuries. Mr. Irvine incurred
damages in an amount to be proven at trial.

C. Laurel Hospital Failed to Provide Plaintiff Whitney with an Appropriate Auxiliary Aid

As Necessary to Ensure Effective Communication, And Therefore Denied Her Full and
Equal Medical Treatment Because of Her Disability.

31. | Onor about December 24, 2003, Ms. Whitney went to Laurel Hospital to obtain medical
treatment. Ms. Whitney and Karl Ewan, a deaf friend of Ms. Whitney’s who had accompanied her to
the Hospital, both requested a live, in-person sign language interpreter so that Ms. Whitney could
communicate with the doctors, nurses and other Hospital staff treating her. The Hospital staff informed
Ms. Whitney and Mr. Ewan that an interpreter was “on the way,” however, when she was admitted into

a room, the Hospital staff told she and Mr. Ewan that they would have to use the VRI.

WO 349100.6 11
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 12 of 27

32. The Hospital staff was inadequately trained and unable to operate the VRI device until
assisted by Mr. Ewan.

33. While Mr. Ewan was assisting with the set-up of the VRI device, a doctor entered the
hospital room, but left without treating Ms. Whitney because he and Ms. Whitney could not
communicate.

34. Once the VRI device was connected, neither Ms. Whitney nor Mr. Ewan could
understand the video interpreter due to the poor quality of the video transmission. Ms. Whitney repeated
her request for a live sign language interpreter, but the Hospital again refused to provide one. Asa
result, Ms. Whitney could not effectively communicate with the Hospital staff.

35. | Ms. Whitney’s medical treatment was deficient because Laurel Hospital failed to
accommodate her disability. Consequently, she sustained physical and emotional injuries, and incurred
damages in an amount to be proven at trial.

36. | Onor about April 25, 2004, despite Laurel Hospital’s prior failures and refusal to provide
her with a qualified live sign language interpreter, Ms. Whitney returned to the Hospital for emergency
medical treatment since, at the time, it was the closest hospital to her home. Upon her arrival at the
Hospital, Ms. Whitney vomited several times and fainted. Prior to fainting and again upon regaining
consciousness, Ms. Whitney requested a live sign language interpreter so that she could communicate
with the doctors, nurses and other Hospital staff treating her. Ms. Whitney’s roommate Marie
Campbell, who had accompanied her to the Hospital, requested on three separate occasions that the
Hospital provide Ms. Whitney with a live, in-person sign-language interpreter. The Hospital staff told

Ms. Campbell that an interpreter was “on the way.”

WO 349100.6 12
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 13 of 27

37. After feeling faint again, Ms. Whitney lay down on anearby bed. A member of the
Hospital staff, who did not know that Ms. Whitney was deaf, became angry with Ms. Whitney for lying
on the bed, then hit Ms. Whitney in the knee, twisted her arm and dragged her off of the bed. Ms.
Campbell and Ms. Whitney made repeated requests to file a complaint about the nurse’s misconduct.
The Hospital staff told Ms. Campbell and Ms. Whitney that they would send someone to start the
complaint procedure. That person never arrived.

38. Subsequently, the Hospital staff placed Ms.-Whitrey in a room with a VRI device. The
Hospital staff was improperly trained, was not familiar with the device and spent 30-40 minutes trying
to set it up. During this period, and in a repeat of her first visit, a doctor entered the room, saw that the
VRI machine was not yet ready and left without providing any medical assistance to Ms. Whitney. The
doctor ultimately returned once the VRI device was operational. Ms. Whitney found communication
through the VRI device difficult and ineffective due to poor picture quality on the video monitor,
combined with the fact that it requires a patient to sit up to see the screen. Due to her illness, Ms.
Whitney was unable to sit up in order to communicate through the VRI device. Ms. Whitney repeatedly
tried to communicate with the Hospital staff to explain that she did not understand the video interpreter,
and repeatedly requested a live sign language interpreter so that she could communicate effectively with
the doctor and other Hospital staff. Each time the Hospital staff rebuffed and rejected Ms. Whitney’s
requests for a live interpreter and told her that she would have to use the video interpreter.

39. The doctor treating Ms. Whitney also insisted on using only the VRI device to
communicate with her. It was through this mode of communication that the doctor advised Ms. Whitney
that she “might” be suffering from meningitis. At the time of this communication from the doctor, Ms.

Whitney was scared, confused and light-headed from her illness. Given the severity of what she

WO 349100.6 13
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 14 of 27

believed the doctor was communicating (i.e., that she had a potentially life-threatening illness), Ms.
Whitney reiterated her request for a live sign language interpreter to clarify what the doctor was telling
her, and to ask some follow-up questions. The doctor refused her request for an interpreter and, adding
further to Ms. Whitney’s confusion, upon her discharge the next day, formally diagnosed her as
suffering from the flu, with no additional mention of meningitis.

40.  Ashort while after returning home from the Hospital, Ms. Whitney experienced
_ continued nausea, faintness and a very high fever. She returned to Laurel Hospital for treatment on the
afternoon of April 26, 2004, and again requested a live sign language interpreter. Ms. Campbell, who
again accompanied Ms. Whitney to the Hospital, also made several requests for a live, in-person sign
language interpreter. Laurel Hospital again failed and refused to provide a live sign language
interpreter, insisting instead on using the VRI device.

41. The Hospital staff again struggled to set up the VRI device. Even after the video
interpreting device was operational, as during her prior visit, Ms. Whitney could not see the VRI screen
clearly from her position on the treatment table. In response to this situation, the doctor employed the
assistance of Ms. Campbell, who is also deaf and communicates through ASL, to relay the interpreter’s
messages from the VRI device to Ms. Whitney. Through this attenuated means of communication, the
doctor informed Ms. Whitney that she probably suffered from meningitis and would need to undergo a
spinal tap. Neither the attending physician nor any other member of the Hospital staff advised Ms.
Whitney as to what the procedure would entail. Ms. Whitney again requested a live sign language
interpreter from the Hospital, and the Hospital again refused her request.

42. The Hospital staff performed the spinal tap procedure without Ms. Whitney’s written

consent. Ms. Whitney never received any instructions regarding the spinal tap procedure, and no

WO 349100.6 14
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 15 of 27

interpreter was provided while the procedure was conducted, despite Ms. Whitney’s repeated requests.
The Hospital staff turned off the video interpreting device while conducting the spinal tap procedure.
Two nurses held Ms. Whitney down as the procedure was conducted.

43. After the procedure was completed, the Hospital staff failed to convey any post-
procedure instructions or restrictions to Ms. Whitney, including that she remain immobile for a period of
time following the procedure, which is standard procedure following a spinal tap. Specifically, after a
spinal tan is performed, doctors typically advise patients to lay flat for a few hours in order to equilibrate
fluid pressure. Significant complications can arise if a patient moves too soon after undergoing a spinal
tap procedure. Under such circumstances, a patient can suffer from prolonged headaches, nausea and
imbalance in equilibrium. In severe cases, nerve damage and/or inner-cranial pressure can result. In
Ms. Whitney’s case, shortly after her spinal tap procedure was complete, and absent any instruction to
remain still, Ms. Whitney moved. She subsequently experienced, and continues to suffer from, among
other problems, headaches, nausea, faintness and an imbalance in equilibrium.

44. After the spinal tap procedure was completed, another friend of Ms. Whitney’s, Heidi
Holmes, came in to check on Ms. Whitney. Upon seeing there was no interpreter and listening to Ms.
Whitney’s complaints for an interpreter, Ms. Holmes made a few additional requests to the Hospital
staff for an interpreter. The Hospital continued to refuse to provide a live interpreter for Ms. Whitney.

45. Following the spinal tap, Ms. Whitney tested positive for viral meningitis and was re-
admitted to the Hospital on or about the evening of April 26, 2004. She remained in the Hospital for an
additional 2-3 days, until her discharge on April 29, 2004. During that entire time, the VRI device was
not available for her use. Although the equipment was brought into her room, no one from the Hospital

staff set up the equipment for use, despite her repeated requests for an interpreter.

WO 349100.6 15
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 16 of 27

46. Although Ms. Whitney requested on multiple occasions that the Hospital provide her
with a working TTY phone and a closed caption television, the Hospital refused to accommodate her
requests (as required by Department of Justice Regulations, 28 C.F.R. 36.303(d) and (e)).

47. The Hospital also failed to provide a live sign language interpreter or the VRI device for
Ms. Whitney’s discharge from the Hospital, despite the fact that she requested one. The Hospital staff
provided discharge instructions to Ms. Whitney’s mother instead of providing them to her directly, and
reauired Ms. Whitney’s mother to sign the discharge papers. oe wm

48. Ms. Whitney’s medical treatment was deficient because Laurel Hospital denied her full
and equal medical treatment because of her disability. Moreover, Ms. Whitney was excluded from
participation in, denied the benefits of, and subjected to discrimination in the receipt of medical services.
Consequently, she sustained physical and emotional injuries, and incurred damages in an amount to be

proven at trial.

D. Laurel Hospital Failed to Provide Plaintiff Barbin with an Appropriate Auxiliary Aid
As Necessary to Ensure Effective Communication, And Therefore Denied Him Full and
Equal Medical Treatment Because of His Disability.

49. On or about March 19, 2004, Mr. Barbin went to Laurel Hospital to obtain medical
treatment. Mr. Barbin requested a live, in-person sign language interpreter so that he could
communicate with the doctors, nurses and other Hospital staff treating him. The Hospital staff informed
him that it did not have a sign language interpreter. Because the Hospital had no interpreter, Mr.
Barbin’s hearing roommate, Michael Jacobus, who had accompanied him to the Hospital, attempted to

help Mr. Barbin understand what was happening.

50. The Hospital staff insisted on using Mr. Jacobus to interpret for Mr. Barbin. Both Mr.

Barbin and Mr. Jacobus informed the Hospital staff that Mr. Jacobus was not a certified sign language

WO 349100.6 16
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 17 of 27

interpreter, and that neither was comfortable in having Mr. Jacobus interpret in this situation. A member
of the Hospital staff responded that they “could manage” by using Mr. Jacobus to interpret. Over Mr.
Barbin’s objection, the Hospital staff took Mr. Barbin’s information and commenced the examination,
using Mr. Jacobus as the interpreter.

51. | When the emergency room doctor arrived to treat Mr. Barbin, both Mr. Barbin and Mr.
Jacobus again requested a certified sign language interpreter. The doctor told them that the Hospital did

not have an interpreter, and insisted again on using Mr. Jacobus to interpret. Both Mr. Barbin and Mr.
Jacobus informed the doctor that Mr. Jacobus is not a certified sign language interpreter and is not
sufficiently skilled to interpret in medical situations. Moreover, neither individual was comfortable with
the Hospital’s use of Mr. Jacobus to interpret in this type of private situation.

52. Laurel Hospital never obtained Mr. Barbin’s permission to disclose confidential medical
information to Mr. Jacobus. Mr. Barbin’s medical treatment was deficient because Laurel Hospital
denied him full and equal medical treatment because of his disability. Moreover, Mr. Barbin was
excluded from participation in, denied the benefits of, and subjected to discrimination in the receipt of
medical services. Consequently, he sustained physical and emotional injuries, and incurred damages in
an amount to be proven at trial.

E. Laurel Hospital Failed to Provide Plaintiff Hale with an Appropriate Auxiliary Aid

As Necessary to Ensure Effective Communication, And Therefore Denied Her Full and
Equal Medical Treatment Because of Her Disability.

53. | Onor about August 5, 2002, Ms. Hale sought medical treatment from Laurel Hospital.
Upon arriving at the Hospital, Ms. Hale requested a live, in-person sign language interpreter so that she
could communicate with the doctors, nurses and other Hospital staff treating her. The Hospital did not

provide a sign language interpreter. Instead, the Hospital insisted on Ms. Hale reading lips and passing

WO 349100.6 17
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 18 of 27

written notes to communicate with the Hospital staff. While this form of communication may be
appropriate in a non-medical setting, it was inappropriate in a hospital setting where Ms. Hale’s health
was already compromised.

54. Ms. Hale was not afforded any communication aid during her medical treatment while at
Laurel Hospital on this date. Ms. Hale’s medical treatment was deficient because Laurel Hospital
denied her full and equal medical treatment because of her disability. Moreover, Ms. Hale was excluded

from participation in, denied the benefits of, an¢_subiccted to discrimination in the receipt of medical

services. Consequently, she sustained physical and emotional injuries, and incurred damages in an
amount to be proven at trial.

55. | Onor about April 26, 2003, Ms. Hale again sought medical treatment from Laurel
Hospital. Upon arriving at the Hospital, Ms. Hale again requested a live sign language interpreter so
that she could communicate with the doctors, nurses and other Hospital staff treating her. The Hospital
did not provide a live sign language interpreter. Instead, the Hospital insisted on using the VRI device.
The improperly and inadequately trained Hospital staff was unable to operate the video interpreting
equipment. Observing the difficulty the Hospital staff encountered with the video interpreting device,
Ms. Hale reiterated her request that the Hospital provide her with a live, in-person sign language
interpreter. The Hospital denied her request. As a result, Ms. Hale was not afforded any
communication aid during her medical treatment while at Laurel Hospital on this date. Ms. Hale’s
medical treatment was deficient because Laurel Hospital denied her full and equal medical treatment
because of her disability. Moreover, Ms. Hale was excluded from participation in, denied the benefits
of, and subjected to discrimination in the receipt of medical services. Consequently, she sustained

physical and emotional injuries, and incurred damages in an amount to be proven at trial.

WO 349100.6 18
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 19 of 27

56. On or about August 12, 2004, Ms. Hale again sought medical treatment from Laurel
Hospital. Upon arriving at the Hospital, Ms. Hale again requested a live sign language interpreter so
that she could communicate with the doctors, nurses and other Hospital staff treating her. The Hospital
did not provide a live sign language interpreter. Instead, the Hospital again insisted on using the VRI
device. Ms. Hale watched the improperly and inadequately trained Hospital staff attempt to operate the
video interpreting equipment for two hours without success. Observing the continued difficulty the
Hospital staff encountered with the video interpreting equipment, Ms. Hale reiterated her request that the -
Hospital provide her with a live, in-person sign language interpreter. The Hospital denied her request.
As a result, Ms. Hale was not afforded any communication aid during her medical treatment while at
Laurel Hospital on this date. Ms. Hale’s medical treatment was deficient because Laurel Hospital
denied her full and equal medical treatment because of her disability. Moreover, Ms. Hale was excluded
from participation in, denied the benefits of, and subjected to discrimination in the receipt of medical
services. Consequently, she sustained physical and emotional injuries, and incurred damages in an
amount to be proven at trial.
F. Laurel Hospital Failed to Provide Plaintiff Leffler with an Appropriate Auxiliary Aid

As Necessary to Ensure Effective Communication, And Therefore Denied Him Full and
Equal Medical Treatment Because of His Disability.

57.  Onor about, October 27, 2003, Mr. Leffler sought emergency medical treatment at
Laurel Hospital. Mr. Leffler was accompanied to the Hospital by two friends, Mr. Barbin, a co-plaintiff
in this action, and a hearing friend, Michael Jacobus, who would accompany Mr. Barbin to the Hospital
on a later occasion. Upon arriving at the Hospital, Mr. Jacobus requested a live, in-person sign language
interpreter on Mr. Leffler’s behalf so that Mr. Leffler could communicate effectively with the doctors,

nurses and other Hospital staff. The Hospital registration nurse informed them that it did not have a sign

WO 349100.6 19
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 20 of 27

language interpreter. Instead, the nurse offered the use of a machine that purportedly would allow Mr.
Leffler to communicate with the Hospital doctors and staff. Not wanting to delay to his friends any
further, and having learned that the Hospital would provide him with a communication aid, Mr. Leffler
advised Mr. Barbin and Mr. Jacobus that they could leave the Hospital.

58. After waiting for approximately thirty minutes, the registration nurse advised Mr. Leffler
that the machine she had referenced earlier was not available, and asked Mr. Leffler if he was able to

_read lins. Mz, Leffler told the registration nurse that he did not read lips well, and expressed bis .- | _-.—
displeasure with the prospect of undergoing a medical examination in this manner. The registration
nurse nevertheless insisted on trying to communicate with Mr. Leffler through lip-reading. This method
of communication proved ineffective, however, given Mr. Leffler’s general difficulty with lip-reading
coupled with his then-existing medical condition which made intense concentration very difficult.

59. Despite his earlier request for a live sign language interpreter, and despite the Hospital’s
original representation that a machine for interpreting would be provided, the doctor examined Mr.
Leffler without the assistance of an interpreter or other communication aid. The doctor tried to
communicate through written notes, but this attempt limited the depth of questions Mr. Leffler could ask
in an attempt to understand fully the diagnosis and treatment. Moreover, the doctor became frustrated
and impatient with having to communicate with Mr. Leffler in this fashion, and rushed through Mr.
Leffler’s examination. Mr. Leffler attempted to ask the doctor questions, but the doctor cut him short,
issued a prescription and ended the examination.

60. Mr. Leffler’s medical treatment was deficient because Laurel Hospital denied him full
and equal medical treatment because of his disability. Moreover, Mr. Leffler was excluded from

participation in, denied the benefits of, and subjected to discrimination in the receipt of medical services.

WO 349100.6 20
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 21 of 27

Consequently, he sustained physical and emotional injuries, and incurred damages in an amount to be

proven at trial.

G. Laurel Hospital Failed to Provide Plaintiff Porras with an Appropriate Auxiliary Aid
As Necessary to Ensure Effective Communication, And Therefore Denied Her Full and
Equal Medical Treatment Because of Her Disability.

61. On or about May 5, 2003, Ms. Porras’s hearing son, Rene Porras, was taken to Laurel
Hospital to obtain treatment for seizures that he had been experiencing. It was later determined that
Rene Porras had a potentially life-threatening condition with three abscesses op_his hzain. During the
visit, Rene was in and out of consciousness and, at times, unable to respond to the Hospital staff. Ms.
Porras was responsible for her son’s medical care given his periodic state of unconsciousness.

62. | Upon arriving at Laurel Hospital, Ms. Porras requested a live, in-person sign language
interpreter so that she could communicate with the doctors, nurses and other Hospital staff treating her
son. The Hospital informed her that it did not have a sign language interpreter. Ms. Porras’s daughter,
Rebecca Porras Davis, a certified sign language interpreter who accompanied her mother to the Hospital,
volunteered to provide interpreting services. The Hospital refused to allow Ms. Davis to enter her
brother’s room to provide interpreting services.

63. Ms. Porras and her daughter reiterated their request that the Hospital provide a sign
language interpreter. Ms. Davis attempted to give the Hospital staff phone numbers of various agencies
in the area that would provide a certified sign language interpreter. The Hospital staff denied their
request, and failed and refused to provide a sign language interpreter.

64. Ms. Porras and her daughter requested that the Hospital at the very least provide a video
interpreting device through which Ms. Porras could communicate regarding her son’s medical treatment.

The Hospital staff denied that request as well.

WO 349100.6 21
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 22 of 27

65.  Asaresult, Ms. Porras was forced to make decisions affecting her son’s medical
treatment without the benefit of a sign language interpreter. By refusing to provide a sign language
interpreter or other effective communication aid during the visit, Laurel Hospital denied Ms. Porras full
and equal medical treatment because of her disability. Moreover, Ms. Porras was excluded from
participation in, denied the benefits of, and subjected to discrimination in the receipt of medical services
for her son. This denial was specifically based on Ms. Porras’s disability, and has caused her emotional

injuries. Ms. Porras incurred damages in an amount to be proven at trial. -

COUNT ONE
(Violation of Americans with Disabilities Act)

66. Paragraphs 1 through 65 of this Complaint are incorporated by reference as though fully

set forth herein.

67.  Atall times relevant to this action, the ADA, 42 U.S.C. §§ 12101, et seg. was in full force

and effect and applied to Defendant’s conduct.

68.  Atall times relevant to this action, the United States Department of Justice regulations
implementing Title III of the ADA, 28 C.F.R. Part 36, were in full force and effect and applied to the
Defendant’s conduct.

69.  Atall times relevant to this action, each Plaintiff had a significant hearing impairment
and was a qualified individual with a disability within the meaning of Title III of the ADA, 42 U.S.C. §
12102(2).

70.  Atall times relevant to this action, Laurel Hospital was a place of public accommodation

within the meaning of Title III of the ADA, 42 U.S.C. § 12181(7).

WO 349100.6 2?
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 23 of 27

71. The objective of the ADA is to eliminate discrimination against individuals with
disabilities. Section 302(a) of the ADA, 42 U.S.C. § 12182(a), prohibits discrimination “on the basis of
disability in the full and equal enjoyment of goods, services, facilities, privileges, advantages, or
accommodations of any place of public accommodation by any person who owns, leases (or leases to),
or operates a place of public accommodation.”

72. Section 302(b)(2)(A)(iii) of the ADA, 42 U.S.C. § 12182(b)(2)(A)Qii), provides that
discrimination under the ADA further includes “the failure to take such steps as may be necessary to
ensure that no individual with a disability is excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and services” as defined under
§ 12102(1)(A) of the ADA. The term “auxiliary aids and services” under the ADA includes “qualified
interpreters” who make “aurally delivered materials available to individuals with hearing impairments.”

73.  Defendant’s failure to provide effective communication with Plaintiffs in violation of its
obligations under the ADA has directly injured, and continues to injure, Plaintiffs.

74.  Defendant’s violations of the ADA mentioned above directly caused Plaintiffs to sustain
past and continuing physical and emotional injuries. Plaintiffs have suffered, are suffering, and will
continue to suffer irreparable injury as a result of Defendant’s pattern and practice of discrimination.
Defendant will not be harmed if ordered to comply with its pre-existing obligations under the ADA.
The public interest supports entry of appropriate injunctive relief.

75. Plaintiffs have no plain, adequate or complete remedy at law. They are suffering and will

continue to suffer irreparable injury because of the discriminatory policies, pattern, and practice of

Defendant Laurel Hospital.

WO 349100.6 23
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 24 of 27

COUNT TWO

(Violation of Section 504 of the Rehabilitation Act of 1973)

77. Paragraphs 1 through 75 of this Complaint are incorporated by reference as if fully set
forth herein.

78. At all times relevant to this action, Section 504 of the Rehabilitation Act, 29 U.S.C. § 794
was in full force and effect and applied to the Defendant’s conduct.

79.  Atall times relevant to this action, the United States Department of Health and Human
Services (“HHS”) regulation implementing Section 504 of the Rehabilitation Act, 45 C.F.R. Part 84,
were in full force and effect and applied to the Defendant’s conduct.

80.  Atall times relevant to this action, Plaintiffs had significant hearing impairments and
were “handicapped persons” within the meaning of the Rehabilitation Act including its regulation, at 45
C.F.R. § 84.3(j), and “otherwise qualified individual[s]” within the meaning of the Rehabilitation Act
including regulation, 45 C.F.R. § 84.3(k).

81.  Atall times relevant to this action, Defendant was a recipient of federal funds within the
meaning of the Rehabilitation Act.

82. Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, provides:

No otherwise qualified individual with a disability in the United
States . . . shall, solely by reason of her or his disability, be
excluded from participation in, be denied benefits of, or be

subjected to discrimination under any program or activity receiving
Federal financial assistance.

83. The United States Department of Health and Human Services regulations expressly
provide that in the provision of health, welfare, or other social services, a program benefiting from

federal financial assistance may not deny an individual with a disability benefits and services, or provide

WO 349100.6 24
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 25 of 27

them with benefits and services not as effective as those offered to others. 45 C.F.R. § 84.52(a)-(d).
Under the federal regulations, a recipient of federal assistance must provide auxiliary aids and services,
including qualified sign language interpreters, to deaf individuals.

84.  Defendant’s refusal to ensure effective communication with Plaintiffs discriminates
against them on the basis of disability in violation of Section 504 of the Rehabilitation Act.

85. Laurel Hospital violated HHS’s regulations, 45 C.F.R. § 84.52(a) — (d) because it denied
_ Plaintiffs from receiving benefits and services in provision of health, welfare, and/or other_socia! -
services and also provided disparate medical treatment compared to treatment offered non-disabled
individuals. In further violation of the aforementioned HHS regulations, Laurel Hospital failed to
provide Plaintiffs with auxiliary aids and services, including qualified sign language interpreters.

86. Defendant refused to provide Plaintiffs with effective communication because of
Plaintiffs’. disability in violation of the Rehabilitation Act and federal regulations, which directly caused
Plaintiffs to sustain past and continuing physical and emotional injuries.

87. Plaintiffs have suffered, are suffering, and will continue to suffer irreparable injury as a
result of Defendant’s pattern and practice of discrimination. Defendant will not be harmed if ordered to
comply with its pre-existing obligations under the Rehabilitation Act. The public interest supports entry
of appropriate injunctive relief.

88. Plaintiffs have no plain, adequate or complete remedy at law. They are suffering and will

continue to suffer irreparable injury because of the discriminatory policies, pattern, and practice of

Defendant Laurel Hospital.

WO 349100.6 25
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 26 of 27

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment as follows:

(A) A preliminary and permanent injunction against Laurel Hospital, its officers,
directors, agents, representatives and those persons acting in association with it, enjoining them from
engaging in any practice or activity that discriminates against any person solely on the basis of that
person’s status as an “individual with a disability,” including the practice of failing to provide qualified
sign language interpreters to individuals who are deaf when they need to -cmmunicate with Laurel
Hospital, and ordering it to provide deaf individuals with auxiliary aids and services necessary for
effective communication, including qualified sign language interpreters, TTY’s and closed captioned
televisions.

(B) A preliminary and permanent injunction requiring Laurel Hospital to modify existing,
or to adopt new, practices and policies to correct discriminatory policies.

(C) An award of compensatory damages sufficient to compensate Plaintiffs for the pain,
suffering, and humiliation resulting from Laurel Hospital’s discriminatory conduct against them in an
amount established at trial or other appropriate date.

(D) Anaward of punitive damages sufficient to punish Laurel Hospital for its
discriminatory practices and policies in reckless disregard of Plaintiffs’ protected rights under federal
law, and for willfully and maliciously causing Plaintiffs humiliation, embarrassment, and emotional pain
and suffering.

(E) Anaward of attorneys’ fees and costs pursuant to the ADA, 42 U.S.C. §§ 12188(a)()

and 12205, and the Rehabilitation Act, 29 U.S.C. § 794a, and/or common law.

WO 349100.6 26
Case 8:05-cv-00073-DKC Document1 Filed 01/11/05 Page 27 of 27

(F) Any such other and further relief as this Court may deem proper and just under the

circumstances.

Plaintiffs demand a trial by jury.

This 11th day of January, 2005.

WO 349100.6

27

DEMAND FOR JURY TRIAL

Respectfully su mitted,

i

Soran

ewis S. WA , Esq. (No. 10845)

avid A’ Last, Esq. (No. 15272)
Thomas R. Bundy, III, Esq. (No. 15265)
Sutherland Asbill & Brennan LLP
1275 Pennsylvania Ave, N.W.
Washington, D.C. 20004
(202) 383-0100 (telephone)
(202) 637-3593 (facsimile)

Elizabeth Elaine Gardner, Esq.
Washington Lawyers Committee for
Civil Rights and Urban Affairs

11 Dupont Circle, Suite 400
Washington, DC 20036

(202) 319-1000 (telephone)
(202)319-1010 (facsimile

Counsel for Plaintiffs
